Case:04-26313-ABC Doc#:8 Filed:08/24/04 Entered:08/25/04 11:08:45 Pagei of 4
- £ ” a ’ " at
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

og, Ruz PA \

In Re: eyed
po RABY
ANTHONY ROMERO ram ) Gase No, 04-26313 ABC
SSN: XXX-XX-7784 ) Chapter 7
)
KRISTIN ROMERO )
SSN XXX-XX-1939 )
Debtor(s). )

 

NOTICE PURSUANT TO LOCAL BANKRUPTCY RULE 202 OF TRUSTEE'S
MOTION FOR APPROVAL OF COMPROMISE AND SETTLEMENT

 

TO ALL PARTIES IN INTEREST:

NOTICE IS HEREBY GIVEN that the movant named below has applied to this Court or
is intending to take action as follows: The issuance of an Order approving Trustee's Motion for
Approval of Stipulation to Turnover and/or Payment to the Trustee dated August 18, 2004, The
Debtor agrees to pay to the Trustee the settlement sum of $2,100.00 which represents the following
non-exempt assets of the Debtors: $2,000.00 for the non-exempt equily in the debtors’ automobile
and $100.00 for funds on account. The Debtors shall make monthly payments in the amount of
$350.00 beginning September 15, 2004 with payments continuing to be due by the 15" of each
month thereafter until the said settlement sum is paid in full. Each payment shall be made payable
to Harvey Sender, Trustee at 1999 Broadway, Ste. 2305, Denver, CO 80202.

Pursuant to Rule 202 of the Local Ruies of Bankruptcy Procedure, if you desire to oppose
this action you must file a written objection and request for a hearing with the Court on or before
September 16, 2004 and serve a copy thereof on the undersigned attorney. Objections and requests
for hearing shall clearly specify the grounds upon which they are based, including the citation of
supporting legal authority, if any. General objections will not be considered by the Court.

in the absence of a timely and substantiated objection and request for hearing by an interested
party, the Court may approve or grant the aforementioned application without any further notice to
creditors or other interested parties.

DATED this 24" day of August, 2004.

  

By:/
Hatvey Sendef, Trustee, #7546

1999 Broadway, Suite 2305

Denver, Colorado 80202

(303) 296-1999 / (303) 296-7600 FAX

E-mail: sender(@sendwass.com
- Case:04-26313-ABC Doc#:8 Filed:08/24/04 Entered:08/25/04 11:08:45 Page2 of 4

omar ry
sre Rey

LED
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

Ch BUG Zh PH fe 10

Tn Re:  )
ANTHONY ROMERO ogg os OLRADS) Case No. 04-26313 ABC
SSN: XXX-XX-7784 ©) Chapter 7
)
KRISTIN ROMERO )
SSN XXK-XX-1939 J
Debtor(s). )

 

CERTIFICATE OF SERVICE OF NOTICE PURSUANT TO LOCAL BANKRUPTCY
RULE 202 OF TRUSTEE'S MOTION FOR APPROVAL OF
COMPROMISE AND SETTLEMENT

 

I, Timothy R. Franklin, do hereby certify that on the 24" day of August, 2004, I mailed true
and correct copies of the Notice Pursuant to Local Bankruptcy Rule 202 of Trustee's Motion for
Approval of Compromise and Settlement via United States mail, postage prepaid thereon, to those
persons listed on the attached list, downloaded from PACER on 08/24/2004.

Tact CHA:
“ r Case:04-26313-ABC
Label Matrix
for USBC Colorado Case 04-26313-ABC
08/24 /04-11:07:54

American Family Ins
PO Box 709
Needham Heights, MA 02494-0005

Bank One
3 .N. Christina Ctr. 201 Walnut St.
Wilmington, DE 19801

Chase Manhattan Bank
500 Steuart Ave.
Garden City, NY 11530

Cypress Ridge HOA
PO Hox 1390
Parker, CO 90134-1400

MAJR Financial
7951 W Mississippi Ave Ste B
Lakewood, CO 80226-4358

Midland Credit Management
5775 Roscoe Ct
San Diego, CA 92123-1356

Michael M. Noyes
3900 B. Mexico Ave,
Ste. 330

Denver, CO 80216

Kristin Romero
11495 Canterberzy Ln.
Parker, €O 80138-8462

US Attorney General

Department Cf Justice Tax Division
PO Box 683

Washington, DC 20044-0683

Doc#:8 Filed:08/24/04 Entered:08/25/04 11:08:45 Page3 of 4

American Express
PQ Box 7871
Fort Lauderdale, FL 33329

"

Ameriquest Mortgage Co.
505 5 Main St Ste 6000
Orange, CA 92868-4518

Canterberry Crossing MA
19590 E Main St Ste 103
Parker, CQ 80138-7337

Citi Financial
PO Box 22065
Tempe, AZ 85285-2065

Exempla
8300 W 38th Ave
Wheat Ridge, CO 80033-6005

MENA
PO Box 17054
Wilmington, DE 19850-7054

National Recoveries
2020 5 Oneida St Ste 205
Denver, CQ 90224-2449

Pravidian
4940 Johnson Dr
Pleasanton, CA 94589-3308

 

Deviver, CO 8042

US Trustee

999 18th St.
Ste. 1551
Danver, COQ 80202

American Express Centurion Bank
Becket and Lee LLP, Attorneys/Agen
P.O. Bax 3001

Malvern, PA 19355-0701

Bank Of America
PO Box 1597
Norfolk, VA 23501-1597

Capital One Bank
11013 W Broad &t
Glen Allen, VA 23060-5937

Country Wide Home Loans
450 American Way
Simi Valley, CA 93065-6285

IRS
600 17th St. MS 5027
Denver, CO 80202

Metro Collections Services Inc.
2600 $ Parker Rd Bldg 2 # 102
Aurora, CO 80014-1623

Newport Newa
9300 SW Gemini Dr
Beaverton, OR 97008-7120

Anthony Romero
LI495 Canterberry Ln.
Parker, CO 90138-8462

The Travelera Bank
335 Reasearch Ct
Noreross, GA 30092-2921

Unipath
2180 § Leyden St
Denver, CQ 80222-5701
r Case:04-26313-ABC Doc#:8 Filed:08/24/04 Entered:08/25/04 11:08:45 Page4 of 4
Us Attorney Wells Fargo Financial Accept
C/O IRS District Counsel

1402 & Parker Rd # Ald4
1244 Speer Blvd Ste 500 Denver, CO 90231-2758
Denver, CO 80204-3583
